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October 28, 2021

VIA ECF FILING

United States Magistrate Judge Anne Y. Shields
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201
                              Re:     Barreno v. Greenberg
                                      US District Court/Eastern District of New York
                                      Case No. CV 21-2913(GRB) (AYS)


                                  PARTIES’ JOINT LETTER

       The Parties jointly file this letter with the Court and hereby notify the Court that the above-
referenced matter has been settled with a settlement agreement being executed by both parties.
Settlement Agreement is annexed hereto as Exhibit ‘A’.

       The parties request the Honorable Court’s approval of said settlement agreement as well
as request the Court to order the matter discontinued with prejudice.

                                              Pulvers, Pulvers & Thompson LLP

                                              ________-S-_____________
                                              Marc R. Thompson, Esq.
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                                              Counsel for Defendant


                                              Harrison, Harrison & Associates, Ltd.

                                              _________-S-____________
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                            Exhibit 'A'
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